                                              Case 16-59003-bem                        Doc 90    Filed 01/28/19 Entered 01/28/19 15:49:23                                   Desc
                                                                                                      Page 1 of 6
                                                                                        Form 1
                                                                                                                                                                                                             Page: 1-1
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    16-59003-BEM                                                                                                                     Trustee Name:        (300031) Kyle Cooper
Case Name:       WISNER, JAMES DANIEL                                                                                                         Date Filed (f) or Converted (c): 05/24/2016 (f)
                                                                                                                                              § 341(a) Meeting Date:       06/27/2016
For Period Ending:       12/31/2018                                                                                                           Claims Bar Date: 01/02/2018

                                                     1                                                2                              3                            4                      5                          6

                                            Asset Description                                      Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                        Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                    Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                       and Other Costs)                                                             Remaining Assets

    1       721 Vine Circle, Social Circle, GA 30025-0000, W                                               30,000.00                               0.00                                              0.00                        FA
            Orig. Description: 721 Vine Circle, Social Circle, GA 30025-0000, Walton County
            Investment property, Other: commercial building, 100% owned by Debtor; subject
            to restrictive covenants.
            Entire property value: $30,000.00; Imported from original petition Doc# 12

    2       2361 Lovejoy Road, Lovejoy, GA 30250-0000, Clayt                                               50,000.00                               0.00                                              0.00                        FA
            Orig. Description: 2361 Lovejoy Road, Lovejoy, GA 30250-0000, Clayton County
            Single-family home, Investment property
            Entire property value: $50,000.00; Imported from original petition Doc# 12

    3       Calypso Resort 15817 Front Beach Rd, #E607, Pana                                              125,000.00                               0.00           OA                                 0.00                        FA
            Orig. Description: Calypso Resort 15817 Front Beach Rd, #E607, Panama City
            Beach, FL 32413-0000, Bay County
            Condominium or cooperative, Investment property, 50% owner with Lee Waldo;
            DSD to Chase; Waldo make all payment; lease in Waldo only.
            Entire property value: $250,000.00; Imported from original petition Doc# 12

    4       Cash                                                                                               150.00                              0.00                                              0.00                        FA
            Orig. Description: Cash; Imported from original petition Doc# 12

    5       General household furniture and furnishings                                                     2,000.00                               0.00                                              0.00                        FA
            Orig. Description: General household furniture and furnishings; Imported from
            original petition Doc# 12

    6       Televisions and stereo                                                                             500.00                              0.00                                              0.00                        FA
            Orig. Description: Televisions and stereo; Imported from original petition Doc# 12

    7       Clothing and personal effects                                                                   1,000.00                          1,000.00                                               0.00                        FA
            Orig. Description: Clothing and personal effects; Imported from original petition
            Doc# 12

    8       gold wedding bank ($200) Rolex Celini dress watc                                                2,700.00                               0.00                                              0.00                        FA
            Orig. Description: gold wedding bank ($200) Rolex Celini dress watch ($2,500);
            Imported from original petition Doc# 12

    9       golf clubs                                                                                          50.00                            50.00                                               0.00                        FA
            Orig. Description: golf clubs; Imported from original petition Doc# 12
                                             Case 16-59003-bem                        Doc 90   Filed 01/28/19 Entered 01/28/19 15:49:23                                  Desc
                                                                                                    Page 2 of 6
                                                                                        Form 1
                                                                                                                                                                                                          Page: 1-2
                                                                    Individual Estate Property Record and Report
                                                                                     Asset Cases
Case No.:    16-59003-BEM                                                                                                                  Trustee Name:        (300031) Kyle Cooper
Case Name:      WISNER, JAMES DANIEL                                                                                                       Date Filed (f) or Converted (c): 05/24/2016 (f)
                                                                                                                                           § 341(a) Meeting Date:       06/27/2016
For Period Ending:      12/31/2018                                                                                                         Claims Bar Date: 01/02/2018

                                                     1                                              2                             3                            4                      5                          6

                                            Asset Description                                    Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                      Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                  Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                    and Other Costs)                                                             Remaining Assets

    10      Firearms: (estimated FMV)) 300 Blackout Bolt Gun                                              8,175.00                              0.00           OA                                 0.00                        FA
            Orig. Description: Firearms: (estimated FMV)) 300 Blackout Bolt Gun #7840064
            ($400) 300 Blackout AR #06110135 ($1,800) Model 15 S&W38 #1K13842 ($300)
            Model 37 S&W 38 #22672 R2 ($300) Model 12 S&W 38 #5314X ($350) Model 40
            S&W 38 #55292 ($350) Model 28 S&W 357 Mag #55875 ($400) Model 27 S&W
            38 #197X5 ($300) Model M88 Rossi 38 #W293693 ($200) 32 H&R#NM002422
            ($150) Model 17 Glock 9MM #GPE034 ($350) Model 22 Glock 40 S&W #GPP714
            ($375) Government Colt 45 ACP #C128176 ($800) Model 151K Mossburg semi
            auto 22LR No SS found ($225) Model 353T Bolt Action MOssburg 22LR
            #1109094 ($275) Model 514 Single Shot Remington 22 LR #KKU ($125) Belgium
            Browning Light 12 GA#1K6122 ($1,200) REmington 12 GA double barrel
            #111274 ($275); Imported from original petition Doc# 12

    11      IRA: Edward Jones                                                                            19,242.00                         1,689.00                                               0.00                        FA
            Orig. Description: IRA: Edward Jones; Imported from original petition Doc# 12

    12      IRA: Merrill Lynch                                                                          120,225.00                              0.00                                              0.00                        FA
            Orig. Description: IRA: Merrill Lynch; Imported from original petition Doc# 12

    13      401K: John Hancock                                                                          161,069.99                              0.00                                              0.00                        FA
            Orig. Description: 401K: John Hancock; Imported from original petition Doc# 12

    14      Atlanta Arms & Ammo, Inc. Location: 721 VINE CIR                                            407,729.00                       407,729.00                                               0.00                        FA
            Orig. Description: Atlanta Arms & Ammo, Inc. Location: 721 VINE CIR, SOCIAL
            CIRCLE, GA, 30025-3010 90% owned by Debtor assets include: $380,000 loan to
            Shelly Enterprises (matures 9/1/16) $29,031.69 bank account $44,000 receivable
            from Specialty Cartridge, 90% ownership; Imported from original petition Doc# 12


   15*      Caribou Investments, LLC [Series B owned 100% by                                                  0.00                              1.00                                              0.00                    1.00
            Orig. Description: Caribou Investments, LLC [Series B owned 100% by Wisner]
            Series B Assets include: $5,344.52 cash in bank $225,000 cash held in escrow by
            David Ozburn, Esq. $47,000 loan to Albert Taylor Big 5 Enterprises, LLC (owns
            97 acres Tara Field, secured by to loan to Piedmont Bank) [Wisner interest 50%],
            100% ownership; Imported from original petition Doc# 12

            Valued at $1.00 due to contingent, unliquidated status. Pending litigation;
            estimating a value could hinder a full recovery. (See Footnote)

    16      Baron Partners Executive Aircraft LLC (no assets                                                  0.00                              0.00                                              0.00                        FA
            Orig. Description: Baron Partners Executive Aircraft LLC (no assets), 67%
            ownership; Imported from original petition Doc# 12
                                               Case 16-59003-bem                        Doc 90    Filed 01/28/19 Entered 01/28/19 15:49:23                                 Desc
                                                                                                       Page 3 of 6
                                                                                         Form 1
                                                                                                                                                                                                            Page: 1-3
                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:      16-59003-BEM                                                                                                                  Trustee Name:        (300031) Kyle Cooper
Case Name:        WISNER, JAMES DANIEL                                                                                                       Date Filed (f) or Converted (c): 05/24/2016 (f)
                                                                                                                                             § 341(a) Meeting Date:       06/27/2016
For Period Ending:       12/31/2018                                                                                                          Claims Bar Date: 01/02/2018

                                                      1                                                2                            3                            4                      5                          6

                                             Asset Description                                      Petition/               Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                        Unscheduled          (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                     Values               Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                      and Other Costs)                                                             Remaining Assets

    17       Falcon Barron 58 LLC (no assets), 25% ownership                                                    0.00                              0.00                                              0.00                        FA
             Orig. Description: Falcon Barron 58 LLC (no assets), 25% ownership; Imported
             from original petition Doc# 12

    18       Executive Aircraft LLC, 50% ownership                                                              0.00                              0.00                                              0.00                        FA
             Orig. Description: Executive Aircraft LLC, 50% ownership; Imported from original
             petition Doc# 12

    19       2015 joint federal tax refund (net after payment                                              87,500.00                        87,500.00                                        98,965.00                          FA
             Orig. Description: 2015 joint federal tax refund (net after payment of 2015 taxes
             due; amount estimated, return not filed): federal; Imported from original petition
             Doc# 12

   19        Assets                Totals       (Excluding unknown values)                            $1,015,340.99                      $497,969.00                                        $98,965.00                     $1.00


     RE PROP# 15             Valued at $1.00 due to contingent, unliquidated status. Pending litigation; estimating a value could hinder a full recovery.




         Major Activities Affecting Case Closing:
                                         12/1/2018 - Settlement Agreement with Wisners approved (Doc. No. 87). Litigation in Adversary Proceeding 17-05252 ongoing.

                                         10/1/2018 - Trustee seeking approval of settlement of Adversary 17-05241. Trustee continuing litigation and negotiations with regard to adversary
                                         proceeding 17-05252.

                                         12/23/2017 - Litigation in two (2) Adversary Proceedings ongoing.

                                         11/08/2017 - Adversary Proceeding ongoing (17-05241) re tax return. Trustee asserting counter claim.

                                         10/04/2017 - Adversary Proceeding pending (17-05252) re Trustee's recovery of fraudulent transfers & preferences. Litigation ongoing.

         Initial Projected Date Of Final Report (TFR):                       12/27/2018                                 Current Projected Date Of Final Report (TFR):                        12/31/2019
                                    Case 16-59003-bem   Doc 90   Filed 01/28/19 Entered 01/28/19 15:49:23                   Desc
                                                                      Page 4 of 6
                                                                  Form 1
                                                                                                                                                   Page: 1-4
                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case No.:    16-59003-BEM                                                                        Trustee Name:      (300031) Kyle Cooper
Case Name:     WISNER, JAMES DANIEL                                                              Date Filed (f) or Converted (c): 05/24/2016 (f)
                                                                                                 § 341(a) Meeting Date:   06/27/2016
For Period Ending:     12/31/2018                                                                Claims Bar Date: 01/02/2018


             01/28/2019                                                         /s/Kyle Cooper

                Date                                                            Kyle Cooper
                                              Case 16-59003-bem         Doc 90       Filed 01/28/19 Entered 01/28/19 15:49:23                             Desc
                                                                                          Page 5 of 6
                                                                                 Form 2                                                                                                   Page: 2-1
                                                                 Cash Receipts And Disbursements Record
Case No.:                       16-59003-BEM                                                          Trustee Name:                 Kyle Cooper (300031)
Case Name:                      WISNER, JAMES DANIEL                                                  Bank Name:                    Rabobank, N.A.
Taxpayer ID #:                  **-***4426                                                            Account #:                    ******3800 Checking
For Period Ending:              12/31/2018                                                            Blanket Bond (per case limit): $30,390,000.00
                                                                                                      Separate Bond (if applicable): N/A

    1            2                                 3                                              4                                              5                        6                    7

  Trans.    Check or                   Paid To / Received From                    Description of Transaction                 Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                         Tran. Code          $                        $

 11/30/18     {19}       Lamberth Cifelli Ellis & Nason              Tax Refund                                              1124-000                 98,965.00                                    98,965.00

                                                                       COLUMN TOTALS                                                                  98,965.00                  0.00              $98,965.00
                                                                              Less: Bank Transfers/CDs                                                     0.00                  0.00
                                                                       Subtotal                                                                       98,965.00                  0.00
                 true                                                         Less: Payments to Debtors                                                                          0.00

                                                                       NET Receipts / Disbursements                                                  $98,965.00                 $0.00




                                                                                                                                                                                               false

{ } Asset Reference(s)                                                                                                                                            ! - transaction has not been cleared
                                         Case 16-59003-bem   Doc 90        Filed 01/28/19 Entered 01/28/19 15:49:23                 Desc
                                                                                Page 6 of 6
                                                                        Form 2
                                                                                                                                                     Page: 2-2
                                                        Cash Receipts And Disbursements Record
Case No.:                  16-59003-BEM                                             Trustee Name:                 Kyle Cooper (300031)
Case Name:                 WISNER, JAMES DANIEL                                     Bank Name:                    Rabobank, N.A.
Taxpayer ID #:             **-***4426                                               Account #:                    ******3800 Checking
For Period Ending:         12/31/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                                    Separate Bond (if applicable): N/A


                                        Net Receipts:         $98,965.00
                           Plus Gross Adjustments:                 $0.00
                         Less Payments to Debtor:                  $0.00
                 Less Other Noncompensable Items:                  $0.00

                                          Net Estate:         $98,965.00




                                                               TOTAL - ALL ACCOUNTS                      NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                               ******3800 Checking                              $98,965.00               $0.00        $98,965.00

                                                                                                                 $98,965.00                $0.00       $98,965.00




                              01/28/2019                                                   /s/Kyle Cooper
                                 Date                                                      Kyle Cooper
